  Case 8:14-cv-02565-JSM-JSS Document 1 Filed 10/09/14 Page 1 of 3 PageID 1



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

ARDENA KERNS,
                                                            Case No.
       Plaintiff,

-vs-                                                        JURY TRIAL DEMANDED

1ST FINANCIAL BANK USA,
a foreign corporate bank,

      Defendant.
_______________________________/

                        COMPLAINT AND DEMAND FOR JURY TRIAL

                                PRELIMINARY STATEMENT

   1. This action is brought by a consumer for Defendant’s violations of the Telephone
       Consumer Protection Act, 47 U.S.C. §227, et seq. (“TCPA”).
   2. Plaintiff alleges that Defendant has unlawfully called Plaintiff’s cellular telephone in an
       attempt to collect a debt from Plaintiff in direct contravention of the TCPA.
       Consequently, Plaintiff seeks injunctive relief as well as damages, fees, and costs in
       accordance with the TCPA.
   3. The TCPA prohibits any person “to make any call (other than for emergency purposes or
       made with the prior consent of the called party) using any automatic telephone dialing
       system or any artificial or prerecorded voice-(iii) to any telephone number assigned to a
       paging service, cellular telephone service, specialized mobile radio service, or other radio
       common carrier service, or any service for which the called party is charged for the call.”
       47 U.S.C. §227(b)(1)(A).
                                  JURISDICTION AND VENUE
   4. Jurisdiction of this Court arises under 28 U.S.C. §1331 and 47 U.S.C. §227.
   5. Venue lies in this District because Plaintiff resides here and Defendant does business and
       places phone calls into this District.
Case 8:14-cv-02565-JSM-JSS Document 1 Filed 10/09/14 Page 2 of 3 PageID 2



                                           PARTIES
 6. Plaintiff, Ardena Kerns, (hereafter “Plaintiff) is an individual residing at 2811 94th St. E.
    Palmetto, FL 34221.
 7. Defendant, 1st Financial Bank USA (hereafter “1st Financial”) is a foreign corporate bank
    with its principal place of business at 331 North Dakota Dunes Blvd., Dakota Dunes, South
    Dakota 57049.
 8. Defendant regularly engages in interstate commerce, into the State of Florida, by using the
    mail and telephone.
                      BACKGROUND AND GENERAL ALLEGATIONS
 9. Defendant sought to collect a debt from Plaintiff arising from an alleged debt incurred for
    personal, family or household purposes.
 10. Upon information and belief, at all times mentioned herein, the agents and employees of
    Defendant acted within the course and scope of such agency or employment, and acted
    with the consent, permission and authorization of Defendant.
 11. Defendant attempted to collect a debt from Plaintiff by using an automatic dialing system
    to place numerous telephone calls to Plaintiff’s cellular telephone, 941-xxx-0938.
 12. Defendant also left numerous messages on Plaintiff’s cellular telephone using an artificial
    pre-recorded voice.
 13. Plaintiff did not expressly consent to Defendant’s placement of telephone calls to her
    cellular telephone by the use of an automatic telephone dialing system or a pre-recorded
    or artificial voice prior to Defendant making said calls.
 14. None of the phone calls Defendant made to Plaintiff’s cellular telephone via the
    automatic dialing system were made for “emergency purposes as defined by 47 U.S.C.
    §227(b)(1)(A).
 15. Defendant has been sued in the past for violations of the TCPA.
 16. Upon information and belief, Defendant knew their use of the automatic telephone
    dialing system and of the artificial or pre-recorded voice violated the TCPA yet they still
    chose to use them and, therefore, willfully or knowingly violated the TCPA.
             COUNT I- VIOLATION OF THE TCPA, 47 U.S.C. §227(b)(1)(A)(iii)
 17. Plaintiff repeats, realleges and incorporates by reference paragraphs 1 through 16.
Case 8:14-cv-02565-JSM-JSS Document 1 Filed 10/09/14 Page 3 of 3 PageID 3



 18. Defendant made numerous calls to Plaintiff’s cellular telephone using an automated
    telephone dialing system and left messages on her cellular telephone using an artificial or
    pre-recorded voice.
 19. The calls were made to Plaintiff without her express consent.
 20. Plaintiff is entitled to injunctive relief as provided in 47 U.S.C. §227(b)(3)(a).
 21. Plaintiff is also entitled to statutory damages in the amount of $1,500.00 for each willful
    violation of the TCPA and $500.00 for each negligent violation of the TCPA pursuant to
    47 U.S.C. §227(b)(3)(B).
            WHEREFORE, Plaintiff requests that judgment be entered against Defendant,
      st
    1 Financial, for statutory damages of $1,500.00 for each phone call placed to Plaintiff’s
    cellular telephone, for an order enjoining Defendant from calling Plaintiff’s cellular
    telephone by use of an automatic dialing system, and for such other further relief the
    Court deems just and proper.
                               DEMAND FOR JURY TRIAL

            Plaintiff, Ardena Kerns, hereby demands a trial by jury on all issues so triable.



    Dated: October 8, 2014                  Respectfully Submitted

                                              /s/ G. Donald Golden
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